         Case 1:21-cv-11872-WGY Document 53 Filed 12/06/21 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


                                                     )
CASHMERE AND CAMEL HAIR,                             )
MANUFACTURERS INSTITUTE,                             )
                                                     )   C.A. No. 1:21-cv-11872-WGY
                      Plaintiff,                     )
                                                     )
               v.                                    )
                                                     )
AMAZON.COM, INC. and,                                )
CS ACCESSORIES, LLC,                                 )
                                                     )
                      Defendants.                    )
                                                     )

                     STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1), Plaintiff Cashmere and Camel Hair Manufacturers

Institute and Defendant Amazon.com, Inc. hereby stipulate to the dismissal with prejudice of all

claims in this action against Amazon.com, Inc., with each party to bear its own fees and costs.

Dated: December 6, 2021

Respectfully submitted,

 CASHMERE AND CAMEL HAIR                          AMAZON.COM, INC.
 MANUFACTURERS INSTITUTE

 By its attorneys,                                By its attorneys,

 /s/ Robert J. Kaler_________                     /s/ Brian D. Buckley
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         Case 1:21-cv-11872-WGY Document 53 Filed 12/06/21 Page 2 of 2




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                                CERTIFICATE OF SERVICE

        I certify that this document filed through the CM/ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF).

Dated: December 6, 2021                               /s/ Kenneth R. Berman




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